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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

AIDAN ANDREWS, JORDYN                          §
BLAKELY, and FIREARMS POLICY                   §
COALITION, INC.,                               §
                                               §
              Plaintiffs,                      §
                                               §
v.                                             §         Civil Action No. 3:21-CV-2767-K
                                               §
STEVEN C. MCCRAW, in his official              §
capacity as Director of the Texas              §
Department of Public Safety, JOHN              §
FORREST, in his official capacity as           §
County Attorney of Parker County,              §
RICHARD E. GLASER, in his official             §
capacity as Criminal District Attorney of      §
Fannin County, and J. BRETT SMITH,             §
in his official capacity as District           §
Attorney of Grayson County,                    §
                                               §
           Defendants.                         §

                                           ORDER

       Plaintiffs filed this lawsuit against Defendants asserting claims that Defendants

have violated and continue to violate Plaintiffs’ constitutional rights. In their Complaint

(Doc. No. 1), Plaintiffs allege, generally, that they are prevented from exercising their “right

to keep and bear arms as guaranteed by the Second Amendment,” as citizens at least 18

years of age but not yet 21, “because of laws, regulations, policies, practices, and customs

that Defendants McCraw, Forrest, Glaser, and Smith have been enforcing and continue to

actively enforce today.” Compl. at 1, ¶1; 2, ¶¶6-7.         Based on the allegations in the




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Complaint, the actions taken by Defendants in Parker County, Texas, Fannin County,

Texas, and Grayson County, Texas give rise to Plaintiffs’ claims, and the individual

Plaintiffs are citizens of Parker County and Fannin County.      See id. at 5-6, ¶¶20-21; 7,

¶¶23-26; 8, ¶29. Inquiry of Plaintiffs’ counsel confirmed this. The Northern District of

Texas is comprised of seven divisions, each of which is comprised of specific counties.

None of the counties referenced in the Complaint are within the Dallas Division. See 28

U.S.C. § 124(a)(1). However, Parker County is within the Fort Worth Division of the

Northern District of Texas. § 124(a)(2). Plaintiffs’ counsel indicated this case should have

been filed in the Fort Worth Division.

       Based on Plaintiffs’ Complaint as well as the telephone call with Plaintiff’s counsel,

there is no connection between this case and the Dallas Division of the Northern District

of Texas. The Court finds that the case has a more substantial connection to the Fort

Worth Division of the Northern District of Texas. Accordingly, on the Court’s own motion,

this case is transferred to the United States District Court for the Northern District of

Texas, Fort Worth Division. 28 U.S.C. § 1404(a), 1404(b).

       SO ORDERED.

       Signed November 10th, 2021.

                                          ______________________________________
                                          ED KINKEADE
                                          UNITED STATES DISTRICT JUDGE




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